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MUNICIPAL REVIEW COMMITTEE, INC. AND 8 SOLID WASTE
FIBERIGHT, LLC ) LICENSE
HAMPDEN, PENOBSCOT COUNTY, MAINE )

SOLID WASTE PROCESSING FACILITY )

#S-022458-WK-A-N )

(APPROVAL WITH CONDITIONS) )  NEWLICENSE

Current cost estimates for portions of the development project for which the MRC
has conditionally committed funding to have been provided including land
acquisition, road and stormwater facilities, water and sewer utilities, natural gas
utilities, and electric and telecom utilities. The total project cost estimate which
the MRC has committed to funding is $4,230,000. The MRC will self-finance its
share of the funding for the proposed project. The source of funds will be via a
Tip Fee Stabilization Fund (“Fund”), which maintained a balance as of March 3 1,
2015 of $22,220,628. The MRC submitted a copy of a bank statement showing
the Fund balance and a copy of its latest available audited financial statements.
The MRC has committed to set aside up to $5,000,000 from the Fund to finance
the land acquisition and infrastructure activities. No bonding or borrowing
capacity is needed for the MRC to meet its financial commitment to the proposed
project.

B. Fiberight: Current cost estimates for portions of the development project for
which Fiberight will be responsible for include site development, foundations,
concrete and building construction, machinery and equipment, steel, mechanical
and electrical installation, and engineering, permits and project management.
Total estimated capital costs for which Fiberight is responsible for is $66,976,786.
Fiberight will also be responsible for the following estimated expenditures: annual
operational costs, annual maintenance costs, and facility closure costs for a total
cost of $12,700,000.

Pursuant to 06-096 C.M.R. ch. 400, § 4(B)(2)(b)(i)(b), Fiberight has provided-a
letter of “Intent to Fund”, dated December 18, 2015, fromCovanta Energy, LLC
(“Covanta”) stating that, Covanta’ is engaged with Fiberight to support the
development, financing, construction and operation of the proposed processing
facility. Covanta conducted a review of financial projections relating to the
project and executed a term sheet for a long-term strategic partnership with
Fiberight. Covanta has reviewed the estimated budget for the proposed project,
totaling approximately $67 million, and co ed their interest in supporting
Fiberight with project finance in the form of an €quity investment in the proposed
processing facility.

Covanta’s letter is not intended to be a binding commitment to provide financing.
A binding financial commitment is subject to successful completion of due
diligence activities; including, but not limited to, the proposed project recejying
relevant Federal, State and local permits, and Fiberight entering into.eeeeptable
waste supply agreements with the MRC and its charter municipalité : E
foe in the proposed processing facility will be_as an investor 2 {d' operatg
Covanta has supplied adequate evidence of its ability to fund the construction and A
operation of=jhe proposed processing facility; however, the ultimate level of _A/*

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MUNICIPAL REVIEW COMMITTEE, INC. AND 9 SOLID WASTE
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investment is stil] under consideration by Covanta. The intent is for Fiberight and
Coyvanta to be joint investors in the proposed project.

C. Other: Letters of “critent to Fin ” were also provided by DTE Energy (dated June
11, 2015) and Afgonaut Private Equity (dated June 17, 2015). In the event that
either DTE Energy or Argonaut Private Equity is utilized for funding, their
involvement with the proposed project will be in the form of project financing
only, acting as a financial institution.

Once permits are issued, and prior to project construction, final evidence of the specified
and sufficient amount of funds for each party will be provided to the Department in
accordance with 06-096 C.MLR. ch. 400, § 4(B)(2)(b)(i)(a).

The Department finds that the MRC and Fiberight have submitted adequate evidence of
financial capacity to design, construct, operate, maintain and close the proposed
processing facility in a manner consistent with state: environmental regulations; provided
that, the MRC and Fiberight submit, within 30 days of receipt and prior to beginning
construction of the proposed processing facility, exclusive of the access road that is
funded solely by the MRC, to the Department for review and approval the finalized
financial documents for the construction and operation of the proposed processing
facility.

7. TECHNICAL ABILITY

The MRC and Fiberight have retained several consultants to support the design,
construction, operation, maintenance and closure of the proposed processing facility.

A, MRC: The MRC manages the affairs and concerns of their current 187 municipal
members. The member-led MRC has successfully managed the current 30-year
contract with the Penebscot Energy Recovery Corporation (“PERC”) waste-to-
energy facility, located in Orrington, Maine, since 1991. The MRC, on behalf of
the Equity Chatter Municipalities, purchased and manages a 23% ownership
interest in the PERC facility. As part of this function, the MRC conducts the
following: monitors the PERC facility’s performance, reviews and votes on the
facility’s annual operating budget and decisions to invest in capital and major
maintenance projects, and oversees actions taken and investments made to the
PERC facility to ensure that potential environmental impacts are avoided and

mitigated appropriately-
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has demonstrated the echnica ability to operate a

 

 
 
  
 
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MUNICIPAL REVIEW COMMITTEE, INC. AND 11 SOLID WASTE
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ASTE PROCESSING FACILITY )
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H. ta: | Covanta has their.corporate headquarters in Morristown, New Jersey
4 d places of business in West Enfield and Jonesboro, Maine. Covaiita has more
than 30° years of experience converting MSW ‘into clean neat energy,
recycling metals and other commodities;-and-helping conimunities“meet their
goals for environmental stewardship and sustainability. Covanta will support-the
development, financing, construction, operation, and maintenance of the proposed
processing facility. Covanta’s role in the proposed processing facility will be
(| inVestor'and operator.
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The Department finds thatthe’ MRC and Fiberight and their retained consultants have
provided adequate evidence of technical ability to design, construct, operate, maintain
and close the proposed processing facility in a manner consistent with state
environmental regulations; provided that, the MRC and Fiberight submit to the
Department for review and approval specific professional qualifications for personnel
who will be responsible for operations at least 30 days prior to commencing pre-
commissioning operations of the proposed processing facility.

8. DISCLOSURE OF CRIMINAL OR CIVIL RECORD

The MRC, Fiberight and Covanta have filed complete civil and criminal disclosure
Statements in accordance with 06-096 C.M.R. ch. 400, § 12(A).

A, MRC: The MRC is a non-profit corporation formed in 1991 pursuant to State of
ine law whose managerial and executive authority rests with the MRC officers
a eo No officer or director holds any equity or debt in the business
entity. The MRC will not have managerial or executive authority over the
proposed processing facility. The MRC’s officers and directors do not hold more
than a 5% equity interest in any company that collects, transports, treats, stores, or
disposes of solid or hazardous wastes and do not have any criminal convictions
(except for one director who had a misdemeanor criminal conviction in 1991) or
civil violations of environmental laws or rules administered by the State, other
States, the United States, or another country in the last 5 years. Additionally, the
MRC officers and directors have not entered into any administrative agreements
or consent decrees or had administrative orders directed at them for violations of
environmental laws administered by the Department, the State, other states, the

ra United States, or another country in the last 5 years.

a tt Fiberight: Fiberight is a Delaware limited liability company with a main office in
Baltimore, Maryland. Managerial and executive authority rests with the Fiberight
officers and directors. No officer or director holds any equity or debt in the
business entity. Fiberight’s officers and directors do not hold more than a 5%
equity interest in any company that collects, transports, treats, stores, or disposes
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MUNICIPAL REVIEW COMMITTEE, INC. AND 10 SOLID WASTE
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HAMPDEN, PENOBSCOT COUNTY, MAINE )

SOLID WASTE PROCESSING FACILITY )

#5-022458-WK-A-N )

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Lawrenceville, Virginia. The Fiberight team associated with the proposed
processing facility is the same team responsible for the design and operation of
Fiberight’s demonstration facility in Virginia. Fiberight has submitted the
résumés of those individuals responsible for the demonstration facility’s design,
construction and operation.

C. CES, Inc: CES, Inc. (CES) is an environmental consulting firm, with its
headquarters located in Brewer, Maine, with experience in preparing applications
for submittal to the Department. CES provided personnel to assist with permit
application preparation, site investigation and site design for the proposed project.
CES has also been retained by the MRC and Fiberight to provide on-going
environmental compliance assistance when needed.

 

D. S.W. Cole Engineering, Inc: §.W. Cole Engineering, Inc. (“SW Cole”) is an
engineering firm with offices in Maine, New Hampshire and Vermont that
provides construction materials testing and geotechnical services. SW Cole
conducted sub-surface explorations to address soil suitability of the proposed
project site and provided geotechnical engineering services pertaining to the
construction of the foundation for the proposed processing facility building and
associated structures.

E. Amec Foster Wheeler: Amec Foster Wheeler (““AMECFW”) is a British
multinational consulting, engineering and product management company with its
global headquarters in London, England and branch offices worldwide and in the
United States, including Portland, Maine. AMECFW has been retained to provide
construction management services including contract scoping and preparation of
contract packages, construction scheduling, project cost control, risk identification
and management, quality assurance, contractor and construction site monitoring
and on-site safety monitoring.

F, CommonWealth Resource Management Corporation: CommonWealth Resource
Management Corporation (CRMC) is a management and environmental
consulting firm focusing on issues and opportunities related to resource
conservation, recovery and utilization. CRMC has been retained for general
assistance relating to the design, construction, operation and maintenance of the
proposed processing facility.

 

G. University of Maine: . The University of Maine (UMaine) is a Tie research
university with a focus on undergraduate and graduate research throughout Maine

and “ardjind the world. UMaine Chemical Engineering professors! have been
retaiged to perform a peer review of the technological processes asSociated with

€ proposed processing facility.
